
TJOFLAT, Circuit Judge:
This case arose when Janneral Denson and Jordan L. Taylor sued the U.S. Customs Service, Customs Inspectors Cheryl Friedland and Lee Lavenka, and several members of the Jackson Memorial Hospital medical staff under Bivens v. Six Unknown Named Agents, 403 U.S. 388, 91 S.Ct. 1999, 29 L.Ed.2d 619 (1971), and the Federal Tort Claims Act.1 Denson claimed that the Customs inspectors violated her rights under the U.S. Constitution and Florida tort law by searching her at the Fort Lauderdale International Airport after she arrived aboard a flight from Jamaica on the purported suspicion that she was attempting to smuggle narcotics into the United States inside her alimentary canal.2 She also claimed that the inspectors and the hospital’s medical staff violated the same rights by utilizing certain invasive procedures at the hospital in an effort to determine whether she was carrying drugs internally. The United States District Court for the Southern District of Florida entered judgment in favor of the defendants in both actions and Denson and Taylor appeal. We affirm.
I.
A.
South Florida is a notorious entry point for narcotics smugglers from source countries, such as Jamaica. To maximize its ability to detect these smugglers, the U.S. Customs Service employs a dyadic checkpoint configuration at South Florida airports. This system requires each deplaning passenger to first pass through a primary checkpoint, located just past the baggage carousel, where inspectors per*1324form inspections of passenger documents and ask routine questions concerning the purpose of the passenger’s trip. If nothing appears out of the ordinary, the inspector clears the passenger for entry into the United States. On the opposite end of the room, between the primary checkpoint and the main terminal, Customs inspectors operate a secondary Customs station to scan the entire concourse and note any unusual or suspicious activities or behaviors that might warrant further investigation. For instance, Customs trains its inspectors to mind when a passenger is traveling without checked baggage because internal narcotics couriers commonly travel without luggage to minimize the amount of time they have to remain in Customs.
At 6:00 p.m. on Wednesday, February 12, 1997, Janneral Denson, a six-months’ pregnant American citizen residing in Boynton Beach, Florida, traveled on Air Jamaica flight 36 from Miami, Florida to Kingston, Jamaica. The nonstop flight lasted one hour and forty minutes and landed at 7:40 p.m. Less than two days later, on the afternoon of February 14, 1997, Denson returned to the United States via Air Jamaica flight 89, arriving at the Fort Lauderdale International Airport around 3:30 p.m. Denson had originally been scheduled to arrive at the Miami International Airport at 1:25 p.m., but Air Jamaica canceled her original flight and rerouted her to Fort Lauderdale, where it planned to provide her ground transportation to her car in Miami.
Because of its point of departure, Customs inspectors in Fort Lauderdale were on high alert when Air Jamaica flight 89 arrived. Consistent with Customs procedures and directives, after deplaning and clearing immigration, Denson provided her declaration form to a Customs inspector stationed at the airport’s primary checkpoint and answered several standard questions about her trip. Satisfied with Den-son’s responses, the inspector cleared her for entry into the United States. From the vantage point of the secondary inspection area, Senior Customs Inspector Cheryl Friedland noticed Denson, a single traveler carrying no checked luggage, quickly exiting the Customs area and avoiding her eye contact. Her suspicions peaked, Friedland hurriedly walked toward Denson and called out to her. Though Denson stood no more than five feet away from Friedland, she did not respond and appeared to ignore Fried-land’s efforts to stop her. After catching up with Denson, Friedland escorted her to the secondary Customs station for questioning.3
Once at the examination area, the obviously pregnant Denson had trouble answering Friedland’s routine questions and exhibited signs of nervousness — Denson held tightly to the x-ray machine to avoid shaking,4 avoided eye contact, was breathing heavily, and sweating profusely. Based on her training and experience, Friedland identified Denson’s behaviors and general demeanor as indications that Denson was attempting to hide contraband. Friedland also took into account the infamous fact that drug dealers frequently recruit pregnant women as internal drug couriers (“mules”) because x-ray examinations may not be performed on a pregnant woman for fear of harming the unborn child.
Friedland began interviewing Denson by asking her about the purpose of her trip to Jamaica. Denson responded that she had flown to Jamaica to visit her husband, *1325Richard Scott, but she was initially unable to recall where he lived. After pausing for a few moments, Denson simply stated that her husband lived in a parish in Jamaica. Friedland next asked Denson how she contacted her husband. Denson replied that she contacted him by telephone, but she could not remember his phone number. Friedland next examined Denson’s tickets and took note that they had been purchased only four days prior to Denson’s departure and that the duration of her trip to Jamaica was extremely brief, approximately one and a half days. Friedland considered this factor significant because internal narcotics smugglers often take short trips to limit expenses and increase the overall profitability of their trip.
Friedland then asked Denson how she acquired her plane ticket and who paid for it; she replied that she did not know. When asked again, Denson, after some hesitation, stated that a man named Osmond purchased her ticket, but she did not know his last name. When asked about her employment, Denson said that she worked for Office Depot. She then gave Friedland a telephone number that she claimed was her work number. Friedland called only to discover that the number had been disconnected. These responses significantly heightened Friedland’s suspicions that Denson was attempting to smuggle drugs into the United States. Among other things, third-party booking, like that provided for Denson, is a familiar method smugglers employ to avoid revealing their identity; additionally, Customs trains its inspectors to take note when persons provide unverifiable employment information, as narcotics smugglers are often unable to provide such specific information.
Friedland proceeded to search through Denson’s belongings — a manila folder, a purse, and a small carry-on bag. Of note, Denson had in her possession two new $100 bills and six $1 bills,5 a marriage register of the marriage between herself and Scott, an affidavit of citizenship in lieu of a passport,6 and a tablet of paper containing the following hand-written information about her husband that appeared to be a cover story written for Denson by a third party:7
Richard Scott — Poultry Farmer Since 1994
Lives @ Belfast Near Morant Bay in the Parish of Saint Thomas
His birthday is: Feb. 17th (Born 1972) How you met.
Dec. 1995 A friend invited you to Jamaica while there went to the beach Dunns River met him there
Dec. 1996 He visited you at your friends Saint Anne home you invited him at his Saint Thomas home
*You had no prior knowledge of him You returned home to Florida — Telephone Exchange
* Always used calling cards — Price Reasons
*1326March 1996 You went down to visit him in Jamaica.
Oct. 1996 You went back to marry him
*His phone number written down at home 809 something
You are not good with remembering numbers.
*NOT HIS PHONE ANYWAY Neighbors’ Phone.
ANY OTHER Questions Just answer something in that case try to remember what you were asked and what you answered.
*DOES HE HAVE RELATIVES OR FRIENDS IN THE U.S. THAT YOU KNOW OF — NO—
When asked who wrote the document, Denson said that she did not know.8
As part of the inspection process, Fried-land queried the Treasury Enforcement Communications System (TECS)9 computer data base for any information concerning Denson. The query returned a TECS alert stating the following:
REFER TO CUSTOMS FOR ENFORCEMENT EXAM. ACQUIRED TRAVEL DOCUMENTS SHORTLY BEFORE DEPARTURE. MATCHES HI RISK NARCO-TARGETING INDICATORS. (IF ARRIVING FROM A SOURCE COUNTRY).
Customs Inspector Katherine Romanac entered the TECS alert at the Miami International Airport on November 1, 1996. For a ninety-day period thereafter, inspectors would automatically refer Denson to a secondary inspection station were she to arrive in the United States from a source county. Though the original ninety-day lookout for Denson expired on January 30, 1997, the TECS report remained in the system for one year and continued to have significance in assessing whether Denson was smuggling drugs into the United States.
After further questioning, Denson told Friedland that she had traveled to Jamaica with a friend, Shelita Jacobs. Denson also stated that she had visited with another friend, Coreen, in Jamaica, but could not recall her last name. Friedland was unable to confirm in the computer database that Jacobs had been traveling with Den-son. At this point, based on her twenty-one years of experience as a Customs inspector, Friedland concluded that Denson was likely carrying narcotics inside her body.
Approximately fifteen minutes after Friedland completed her questioning, Den-son requested to use the restroom. Fried-land consented, but because she was aware that narcotics couriers frequently try to dispose of narcotics in the restroom, Fried-land, with supervisory approval, conducted a routine Terry10 pat down. Friedland and *1327Customs inspector Linda Banks then escorted Denson to the restroom, leaving the stall door open while Denson urinated. Afterwards, consistent with Customs procedures, Friedland inspected the toilet paper, contents of the toilet, and Denson’s undergarments to ensure that she was not disposing of narcotics or other evidence. After they returned from the restroom, Friedland placed Denson in handcuffs and inventoried her property. Friedland read Denson her Miranda11 rights and asked her to sign a waiver, which she refused to do. Friedland then received supervisory approval from then Acting Port Director Lee Lavenka12 to transport Denson to Jackson Memorial Hospital13 as a suspected internal narcotics courier. Lavenka based her decision on the totality of the facts and circumstances as gathered and reported by Friedland. Shortly thereafter, Customs inspector Selwyn Smith drove Friedland, Banks, and Denson to Jackson Memorial Hospital in Miami, located approximately twenty miles away from the Fort Lauderdale airport.
After arriving at the hospital’s custody ward (“Ward D”), intake staff photographed Denson and had her change into hospital clothes. Friedland, Smith, and a hospital technician then escorted Denson to the maternity ward for an examination. At the registration desk, Denson refused to sign a treatment consent form, stating that she would not be responsible for paying any bill resulting from her stay. After Denson provided a urine sample to confirm her pregnancy, the hospital staff placed her in a hospital bed and Friedland handcuffed her to the bed rail.
With Friedland present, an obstetrician examined Denson by performing a pelvic examination and an obstetrical ultrasound. Though the examinations were negative for drugs, they did not rule out the possibility that Denson was smuggling drugs in her alimentary canal.14 Because physicians cannot perform x-ray examinations during pregnancy, Friedland and Smith returned Denson to Ward D for monitored bowel movements.15
Under the standard protocol Jackson Memorial Hospital established in conjunction with the U.S. Customs Service, Den-son was required to pass three separate drug-free stool samples. To help induce the bowel movements, a doctor prescribed Denson the laxative GoLytely.16 After drinking the laxative, Denson had three drug-free bowel movements, the last of *1328which occurred on February 16, 1997, at 9:45 a.m.17 Thereafter, Customs Inspector Ganz informed Denson that she was to be released and proceeded to remove Den-son’s handcuffs and allowed her to dress. Hospital staff discharged Denson and Inspectors Friedland and Peggy Neaves drove her back to the Fort Lauderdale International Airport. At the airport, Denson retrieved her property and continued on her way. On February 28, 1997, Denson gave birth to Jordan L. Taylor.
B.
1.
Denson brought this lawsuit on November 12, 1998.18 Her complaint19 named as defendants Vince Priore, U.S. Customs Service Port Director for the Fort Lauder-dale International Airport, Lee Levenka, Supervisory Customs Inspector, and Dennis Flynn and Cheryl Friedland, Customs Inspectors (collectively the “Federal Defendants”),20 the United States, Jackson Memorial Hospital21 and Ira Clark, its president (collectively the “Hospital”), and seven physicians22 and six nurses23 on the hospital’s staff (collectively the “Hospital Defendants”). Denson’s eleven-count complaint is a prolix, discursive pleading that combines causes of action and theories of recovery in such a way as to make it exceedingly difficult, if not impossible, to grasp precisely the claims being asserted. Reading the complaint in the light most favorable to Denson, we find that it presents and lumps together, in its eleven counts, a host of claims under the Constitution and Florida tort law.24
*1329The first eighty-two paragraphs of the complaint contain allegations that apply to each of the eleven counts. These paragraphs detail the events that transpired from the moment Inspector Friedland stopped Denson, after Denson cleared the primary Customs checkpoint at the airport, to the birth of Jordan. Count I incorporates the eighty-two paragraphs by reference; Counts II through XI incorporate by reference all antecedent allegations, such that each count consists of an amalgamation of all previous counts and causes of action.25
The first eighty-two paragraphs of the complaint allege (1) that the conduct of the Federal Defendants constituted “false arrest, false imprisonment, intentional infliction of emotional distress, unlawful search and seizure, and unlawful invasion of privacy, under the laws of the State of Florida” and the “Fourth, Fifth, Eighth, and Fourteenth Amendments” of the Constitution, and discrimination on the basis of “race and ethnicity ... in violation of the laws of Florida and the Fourth and Fifth Amendments,” and (2) that the conduct of the Hospital Defendants constituted “assault, battery, false imprisonment, intentional infliction of emotional distress, unlawful search and seizure, unlawful invasion of privacy, and medical negligence under the laws of Florida ...” and “deliberate[ ] indifference] to [Denson’s] serious medical needs ... in violation of the Fifth, Eighth and Fourteenth Amendments.” These eighty-two paragraphs also allege that “Defendants, and each of them, authorized and ratified the wrongful acts of the other individual defendants and were willful participants in the joint activity,” all of which deprived Denson of her rights under Florida tort law and the federal constitution.
The counts alleged in the complaint are as follows: Count I, “Assault and Battery,” brought against the Hospital Defendants, alleges that their physical contact with Denson at the hospital constituted assault and battery; Count II, “Medical Negligence,” alleges that the Hospital Defendants breached the duty to provide Denson with appropriate medical care; Count III, “Medical Negligence,” alleges that the Hospital is vicariously liable for the negligence of the Hospital Defendants; Count IV, “Apparent Agency,” alleges that the Hospital is vicariously liable for the acts of the Hospital Defendants; Count V, “Non-Delegable Duty,” alleges that the Hospital is liable for the acts of the Hospitable Defendants because the duties of those defendants were non-delegable; Count VI, “42 U.S.C. § 1983 and § 1985 Claims,” brought against the Hospital Defendants, alleges that, while acting under the color of state law and in concert, they unlawfully searched, seized and detained Denson with excessive force, depriving her of her liberty and due process of law, all in violation of her rights under the Fourth, Fifth, Eighth, and Fourteenth Amendments; Count VII, “42 U.S.C. § 1983 and § 1985 Claims,” alleges that the Hospital is vicariously liable for the conduct described in Count VI; Count VIII, “Assault and Battery,” alleges that the Federal Defendants “brutally, willfully, maliciously and without any excuse or justification ... callously and recklessly ... disregarded [Denson’s] safety and continued life” in violation of Florida tort law; Count IX, *1330“Constitutional Violations Claim,” which we construe as a Bivens claim,26 alleges that the Federal Defendants, acting in concert, deprived Denson of her Fourth Amendment rights to be free from unreasonable searches and seizures, excessive force, and unlawful detention and her Fifth Amendment rights to the equal protection of the laws, due process of law, the right of privacy, freedom of association, and the right to seek redress for injury; Count X, “Constitutional Violations Claim,” another Bivens claim, alleges that U.S. Customs Service Port Director Priore, acting under color of state and federal law, failed appropriately to “train, supervise and/or discipline” the Federal Defendants and, therefore, is liable for the constitutional violations asserted in Count IX; and Count XI, “Claim under the Federal Tort Claims Act,” alleges that the United States is amenable to suit under the Federal Tort Claims Act (FTCA),27 because the Federal Defendants subjected Denson to “warrantless detention, searches, handcuffing, assault, battery, forced medication and improper treatment” in violation of Florida tort law and the Fourth, Fifth, Eighth, and Fourteenth Amendments to the Constitution.28
The U.S. Attorney responded to the complaint on behalf of the United States and the Federal Defendants29 by filing an answer, which denied paragraph by paragraph the allegations of unlawful conduct.30 As an affirmative defense, the answer asserted that, with respect to the constitutional claims of Counts IX and X, the Federal Defendants were entitled to qualified immunity. The Hospital and Hospital Defendants responded by moving the court to grant them summary judgment on all claims.31 Regarding the § 1983 claims asserted in Counts VI and VII, these defendants contended that they were entitled to qualified immunity.
On January 29, 2002, the district court entered an order disposing of all pending motions for summary judgment.32 The *1331court granted summary judgment on Count I,33 part of Count VI,34 Counts VII and VIII,35 part of Count IX,36 and Count X, and denied summary judgment on Counts II through V37 and part of Count II, as it related to four of the Hospital Defendants, Dr. Bennett and nurses Hollant, Prospere, and Simmons (the “Four Hospital Defendants”), and part of Count IX.38 In denying the Four Hospital Defendants summary judgment on Count VI, the court declined to pass on the question of whether they were entitled to qualified immunity.
*13322.
The Federal Defendants appealed the January 29 order,39 arguing that the district court erred in denying them qualified immunity as to the Bivens claims asserted in Count IX. The Hospital and the Hospital Defendants also appealed, arguing that the court erred in denying them summary judgment on Counts II through V. Additionally, the Four Hospital Defendants appealed on the ground that the court erred in failing to address whether they were entitled to qualified immunity on Count VI. Denson cross appealed, arguing that the court erred in granting any of the defendants summary judgment.
In an order entered on July 12, 2002, a panel of this court granted Denson’s motion to dismiss the Hospital and Hospital Defendants’ appeal of the district court’s denial of summary judgment on Counts II through V. On January 29, 2008, the panel affirmed the district court’s rulings on Count IX and, with respect to Count VI, remanded the case with instructions that the district court consider whether the Four Hospital Defendants were entitled to qualified immunity. See Denson v. United States, 61 F. App’x 669 (11th Cir.2003) (unpublished table decision).
On remand, the district court, in an order entered on November 5, 2004, concluded that the Four Hospital Defendants were entitled to qualified immunity and granted them summary judgment on Count VI. Since this ruling disposed of all the remaining bases for the court’s exercise of original jurisdiction on Denson’s claims against the Hospital Defendants and the Hospital,40 the court declined to exercise its supplemental jurisdiction over Denson’s remaining state law claims stated in Counts II, III, IV, and V; thus, it dismissed those counts in its November 5 order.41
Denson appealed the district court’s November 5 order on December 2, 2004. On January 18, 2005, while her appeal was pending, she moved the district court, pursuant to Federal Rule of Civil Procedure 54(b), to enter a partial final judgment for the Hospital and Hospital Defendants in conformance with the rulings the court had handed down in their favor in its orders of January 29, 2002 and November 4, 2004.42 Denson’s motion stated that there was “no just cause for delay” in entering the partial final judgment; moreover, a judgment, if entered, would afford Denson an opportunity to obtain “appellate review of the *1333qualified immunity issues at this time.”43 The court granted her motion, as framed, entering a partial final judgment for the Hospital and Hospital Defendants on February 16, 2005. Denson did not appeal the partial final judgment.
What remained of Denson’s complaint following the entry of the Rule 54(b) judgment were Count IX, the Bivens claims against Inspectors Friedland, Lavenka, and Flynn for infringing Denson’s rights under the Fourth and Fifth Amendments, and Count XI, the FTCA claims against the United States based on Florida tort law and the Fourth, Fifth, Eighth and Fourteenth Amendments to the Constitution.
3.
On April 18, 2005, the case proceeded to a bifurcated trial on Counts IX and XI.44 The two counts were tried simultaneously — Count IX to a jury45 and Count XI to the court. On April 21, after three days of testimony, Denson voluntarily dismissed her claims against Inspector Flynn for lack of evidence46 and rested her case on the two counts.47 The U.S. Attorney then moved the district court for judgment as a matter of law on both counts.48 He argued for judgment on the Count IX claims on the ground that Friedland and Lavenka were entitled to qualified immunity; and he argued for judgment on the Count XI claims on the ground that Denson had failed to make out a case of liability under Florida tort law.49 The court reserved ruling on . the motion as addressed to Count IX and denied the motion as addressed to Count XI. Then, after both parties rested, the district court proceeded to rule on the Count XI tort claims from the bench. The court found for the United States, and stated that it would memorialize its findings of fact and conclusions of law in a written order, pursuant to Federal Rule of Civil Procedure 52(a). Turning to *1334the Bivens claims in Count IX, the court found that they were barred by 28 U.S.C. § 2676.50 Denson objected to the court’s invocation of the § 2676 bar on grounds that the bar only applies to cases where the United States is unsuccessful in defending against the FTCA claim.51
4.
On June 30, 2005, Denson moved the district court, pursuant to Federal Rule of Civil Procedure 60(b), to reconsider its November 5, 2004 order, which granted the Four Hospital Defendants summary judgment on Count VI, and dismissed Counts II through V. Denson also moved the court to set aside the Rule 54(b) partial final judgment of February 16, 2005, contending that the judgment was invalid because it failed to recite that there was “no just reason for delay” in entering the judgment.
5.
On August 5, 2005, the court issued its findings of fact and conclusions of law on the Count XI FTCA claims. The court found (1) that Inspector Friedland had reason to suspect that Denson was carrying narcotics internally; (2) that Denson’s responses to the questions Friedland put to her heightened Friedland’s suspicion; (3) that Friedland acted properly in seeking direction from her supervisor, Lavenka (4) that, based on what Friedland reported, Lavenka properly instructed Friedland to take Denson to the Hospital, and; (5) that Friedland’s handling of Denson at the Hospital was consistent with the protocol the U.S. Customs Service followed in deal*1335ing with border entrants, like Denson, suspected of carrying narcotics internally. The court concluded that, based on these facts, neither Friedland nor Lavenka committed the state law torts alleged in the complaint, and that the United States was entitled to judgment on Count XI.
After finding for the United States on Count XI, the district court, on August 22, 2005, entered an order dismissing Count IX on the ground that Denson’s Bivens claims were barred by 28 U.S.C. § 2676.
On August 24, 2005, the court denied Denson’s Rule 60(b) motion to reconsider its November 5, 2004 order. On September 2, 2005, the U.S. Attorney moved the district court for entry of judgment in favor of Friedland and Lavenka on Count IX, pursuant to its August 22 order dismissing that count. On October 4, 2005, the court, having reserved ruling on Fried-land and Lavenka’s motions for judgment as a matter of law on Count IX, entered an order granting the motions on qualified immunity grounds. On October 6, 2005, the court entered final judgments in favor of Friedland and Lavenka on Count IX and the United States on Count XI. On October 11, 2005, the court denied Den-son’s June 30, 2005 motion to set aside the Rule 54(b) judgment.
6.
On October 12, 2005, Denson appealed the October 6 judgments and the August 24, 2005 order denying her Rule 60(b) motion for reconsideration of the court’s November 5, 2004 order. Denson’s appeal of the August 24 order is meritless, as we explain in the margin,52 and thus unworthy of further comment. We devote our attention, instead, to Denson’s challenges to the October 6 judgments.
II.
A.
Denson brought her Fourth Amendment claims against the Federal Defendants under Bivens, and state law claims against the United States (substituted for the Federal Defendants) under the FTCA.53 In Bivens, the Supreme Court created a re*1336medial scheme to enforce justiciable constitutional rights. See Bivens, 403 U.S. at 395, 91 S.Ct. at 2004-05 (finding that victims of constitutional violations may seek monetary damages against the offending federal officers). In contrast, the FTCA “is not a federal remedial scheme at all, but a waiver of sovereign immunity that permits an injured claimant to recover damages against the United States where a private person ‘would be liable to the claimant in accordance with the law of the place where the act or omission occurred.’ ” Carlson v. Green, 446 U.S. 14, 29 n. 1, 100 S.Ct. 1468, 1477 n. 1, 64 L.Ed.2d 15 (1980) (Powell, J., concurring) (quoting 28 U.S.C. § 1346(b)). Although the FTCA was enacted many years before the Bivens decision came down, when Congress amended the FTCA in 1974 to permit claimants to bring causes of action against the United States based on intentional torts committed by law enforcement officers, see Pub.L. No. 93-253, 88 Stat. 50 (1974), Congress indicated that it viewed the FTCA and Bivens as parallel and complementary causes of action:
[Ajfter the date of enactment of this measure, innocent individuals who are subjected to raids [like those described in Bivens\ will have a cause of action against the individual Federal agents and the Federal Government. Furthermore, this provision should be viewed as a counterpart to the Bivens case and its progenty [sic.], in that it waives the defense of sovereign immunity so as to make the Government independently liable in damages [under state law] for the same type of conduct that is alleged to have occurred in Bivens (and for which that case imposes liability upon the individual Government officials involved).
S.Rep. No. 93-588 (1974), reprinted in 1974 U.S.C.C.A.N. 2789, 2791; Pooler v. United States, 787 F.2d 868, 874 (3d Cir.1986) (Seitzer, J., concurring) (noting that Congress crafted the law enforcement proviso amendment to § 2680(h) to be coextensive with actions brought under Bivens)-, see also Carlson v. Green, 446 U.S. at 20, 100 S.Ct. at 1472 (holding that plaintiffs, “[i]n the absence of a contrary expression from Congress, ... shall have an action under FTCA against the United States as well as a Bivens action against the individual officials alleged to have infringed their constitutional rights”); cf. FDIC v. Meyer, 510 U.S. 471, 485, 114 S.Ct. 996, 127 L.Ed.2d 308 (1994) (explaining that the Court “implied a cause of action against federal officials in Bivens in part because a direct action against the government was not available [under the FTCA]” to remedy constitutional tort claims)
As co-extensive causes of action, Bivens and FTCA claims necessarily arise from the same wrongful acts or omissions of a government official. By the same token, the same set of facts determines the theories available to the United States in defending the FTCA case. If a plaintiff sues the official under Bivens, but fails to establish a constitutional violation, the United States may defend the plaintiffs state-law tort claims (based on the Bivens evidence) under two theories. First, the United States may contend that 28 U.S.C. § 2680(a) of the FTCA strips the district court of jurisdiction to consider the tort claims because the officer acted within the scope of his discretion when he engaged in the disputed conduct.54 Second, the United States may contend that the Supremacy *1337Clause of the Constitution bars the tort claims because the application of the state tort law would impede the officer from performing his required federal functions. See U.S. Const, art. VI, cl.2 (providing that federal law is the supreme law of the land). However, because government officials lack discretion to violate constitutional rights, if the Bivens claim is successful, neither defense would be available to the United States in the FTCA case. See Medina v. United States, 259 F.3d 220, 225 (4th Cir.2001) (noting that the starting point of analysis is the axiom that “federal officials do not possess discretion to violate constitutional rights or federal statutes”); Red Lake Band of Chippewa Indians v. United States, 800 F.2d 1187, 1196 (D.C.Cir.1986) (“A government official has no discretion to violate the binding laws, regulations, or policies that define the extent of his official powers.”).55 In the scenario at hand, the availability of these defenses to the United States in the FTCA case depends on whether the evidence Denson presented against Inspectors Friedland and Lavenka in the Bivens case was sufficient to withstand their motion for judgment as a matter of law. Given this consequence, we begin our review of the two cases by assessing the legal sufficiency of Denson’s Bivens case.
*1338B.
Denson sued Inspectors Friedland and Lavenka in their individual capacities. At trial, after Denson rested her case, the U.S. Attorney, contending that the defendants were entitled to qualified immunity as a matter of law, moved the court to dismiss her Bivens claims under Federal Rule of Civil Procedure 50(a).56 The court granted the motion.57
Qualified immunity is a doctrine that generally shields “[g]overnment officials performing discretionary functions ... from liability for civil damages insofar as their conduct does not violate clearly established rights of which a reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S.Ct. 2727, 2738, 73 L.Ed.2d 396 (1982); see also Anderson v. Creighton, 483 U.S. 635, 638-39, 107 S.Ct. 3034, 3038-39, 97 L.Ed.2d 523 (1987); Wood v. Kesler, 323 F.3d 872, 877 (11th Cir.2003). Thus, a government official is shielded from liability in two scenarios: (1) the claimant fails to establish that the official violated her rights; or (2) the claimant establishes a violation of rights that are not “clearly established.” See Pearson v. Callahan, — U.S. -, 129 S.Ct. 808, 818, 172 L.Ed.2d 565 (2009). Denson’s case fits the first scenario hand in glove, as we explain below.
1.
The Fourth Amendment is a classic repository of constitutional rights. It serves as a bulwark, protecting individual liberty from arbitrary invasions by state actors. See Wolf v. People of State of Colorado, 338 U.S. 25, 27-28, 69 S.Ct. 1359, 1361, 93 L.Ed. 1782 (1949), overruled on other grounds by Mapp v. Ohio, 367 U.S. 643, 81 S.Ct. 1684, 6 L.Ed.2d 1081 (1961). To that end, the proscriptions found in the Fourth Amendment impose a benchmark of reasonableness upon the exercise of governmental discretion. Delaware v. Prouse, 440 U.S. 648, 653, 99 S.Ct. 1391, 1396, 59 L.Ed.2d 660 (1979); Marshall v. Barlow’s, Inc., 436 U.S. 307, 312, 98 S.Ct. 1816, 1820, 56 L.Ed.2d 305 (1978). Whether a search or seizure is constitutionally reasonable is judged by “balancing its intrusion on the individual’s Fourth Amendment interests against its promotion of legitimate governmental inter*1339ests.” United States v. Montoya de Hernandez, 473 U.S. 531, 537, 105 S.Ct. 3304, 3308, 87 L.Ed.2d 381 (1985); Brown v. Texas, 443 U.S. 47, 50-51, 99 S.Ct. 2637, 2640, 61 L.Ed.2d 357 (1979); Camara v. Municipal Court, 387 U.S. 523, 534, 87 S.Ct. 1727, 1734, 18 L.Ed.2d 930 (1967).
While true that Fourth Amendment protections apply irrespective of a person’s location, those protections do wane in some limited contexts. This is especially true at the international border — or its functional equivalent, e.g., an airport58 — where the government’s interest in preventing persons and effects from entering the nation rises to its zenith. United States v. Flores-Montano, 541 U.S. 149, 152-53, 124 S.Ct. 1582, 1585, 158 L.Ed.2d 311 (2004). In fact, the very balance of reasonableness “is qualitatively different at the international border than in the interior.” Montoya de Hernández, 473 U.S. at 538, 105 S.Ct. at 3309. “[N]ot only is the expectation of privacy less at the border than in the interior, the Fourth Amendment balance between the interests of the Government and the privacy right of the individual is also struck much more favorably to the Government at the border.” Id. at 539-40, 105 S.Ct. at 3309-10 (internal citations omitted). It is beyond peradventure that searches made at the border, pursuant to the long-standing right of the sovereign to protect its territorial integrity, renders preliminary searches and seizures per se reasonable simply by virtue of the fact that they occur at the border. United States v. Ramsey, 431 U.S. 606, 616, 97 S.Ct. 1972, 1978, 52 L.Ed.2d 617 (1977). Entrants, therefore, are subject to search even in the absence of reasonable suspicion, probable cause, or warrant. Id. at 619, 97 S.Ct. at 1980; Almeida-Sanchez, 413 U.S. at 272, 93 S.Ct. at 2539, 37 L.Ed.2d 596 (1973) (noting that the federal government may conduct “routine inspections and searches of individuals or conveyances seeking to cross our borders”); Carroll v. United States, 267 U.S. 132, 154, 45 S.Ct. 280, 285, 69 L.Ed. 543 (1925) (“Travelers may be so stopped in crossing an international boundary because of national self protection reasonably requiring one entering the country to identify himself as entitled to come in and his belongings as effects which may be lawfully brought in.”).
The Government’s interest in policing our borders has grown exponentially in the present era of foreign drug trafficking. See United States v. Mendenhall, 446 U.S. 544, 561, 100 S.Ct. 1870, 1880, 64 L.Ed.2d 497 (1980) (Powell, J., concurring) (noting that the public “has a compelling interest” to stop the flow of illegal drugs from entering the United States). Stopping the flood of illicit drugs pouring into the United States has become particularly difficult as drug syndicates develop new techniques to prevent detection. One technique in the smuggler’s repertoire, which has been utilized for more than three decades, is alimentary canal smuggling.59 See Montoya de Hernández, 473 U.S. at 538-39, 105 S.Ct. at 3309. This dangerous and depraved practice remains a staple method for smuggling because it is exceedingly difficult to detect. Id.
To combat the long existing and ever present problem of contraband smuggling, Congress expanded the Customs Office’s scope of authority by enacting 19 U.S.C. § 1582.60 This statute provides that “all *1340persons coming into the United States from foreign countries shall be liable to detention and search ... authorized ... [by customs regulations].” Pursuant to its Congressionally delegated authority, U.S. Customs responded by drafting and adopting 19 C.F.R. §§ 162.6 and 162.7, which provide that “[a]ll persons, baggage, and merchandise arriving in the ... United States from places outside thereof are liable to inspection” and that Customs officers “may stop, search, and examine any vehicle, person, or beast, or search any trunk or envelope wherever found.”61
As a whole, the law provides that when Customs Officers first encounter an individual seeking entry into the United States the officer has discretion to stop the person and conduct a preliminary border search without fear of running afoul of the Constitution. Ramsey, 431 U.S. at 619, 97 S.Ct. at 1980. Included within the officer’s discretion is an entitlement to conduct routine questioning, Kaniff v. United States, 351 F.3d 780, 784 (7th Cir.2003), examine the entrant’s luggage, and conduct Terry patdowns and frisks, United States v. Vega-Barvo, 729 F.2d 1341, 1345 (11th Cir.1984); see also Bradley v. United States, 299 F.3d 197, 203-04 (3d Cir.2002); United States v. Beras, 183 F.3d 22, 25-26 (1st Cir.1999); United States v. Vargas, 854 F.2d 1132, 1134 (9th Cir.1988); United States v. Carreon, 872 F.2d 1436, 1442 (10th Cir.1989); United States v. Oyekan, 786 F.2d 832, 835 (8th Cir.1986). Because an individual’s expectation of privacy is at its lowermost at border entry points, the officer need not possess any level of suspicion. Vega-Barvo, 729 F.2d at 1344 (“A person’s decision to cross our national boundary is justification enough for such a search.”); United States v. Gonzalez-Rincon, 36 F.3d 859, 864 (9th Cir.1994) (finding that routine searches are reasonable under the Fourth Amendment “by the single fact that the person or item in question has entered into our country from outside.”)
2.
When Denson entered the United States, Friedland stopped her, conducted a search of her belongings, asked her routine questions, and conducted a Terry-style pat down. These actions fall well within the scope of routine border searches and accordingly, do not offend the Fourth Amendment. See Brent v. Ashley, 247 F.3d 1294, 1299-1300 (11th Cir.2001) (holding that the stop, questioning, and luggage search of an entrant constituted a routine border search); Vega-Barvo, 729 F.2d at 1345 (“Both a luggage search and a pat-down or frisk fall within [routine border searches] and these searches can be legitimately carried out on no more than a generalized ‘mere suspicion’ or ‘subjective response’ of the [C]ustoms inspector. A person’s decision to cross our national boundary is justification enough for such a search.”). Denson’s suggestion that Fried-land’s initial actions were rendered unconstitutional because Friedland’s decision to stop and search her was racially motivated is of no moment.
*1341If, after conducting initial questioning and a preliminary search of the individual and the individual’s effects, the officer has reasonable suspicion that the traveler is smuggling drugs in her alimentary canal, the Fourth Amendment permits the Customs officer to detain the individual and conduct a more intrusive search. Montoya de Hernández, 473 U.S. at 541-42, 105 S.Ct. at 3310-11 (allowing detention of traveler based on reasonable suspicion of smuggling contraband in her alimentary canal); United States v. Pino, 729 F.2d 1357, 1359 (11th Cir.1984) (finding use of x-ray to search traveler constitutional where reasonable suspicion exists that person is concealing drugs internally); see United States v. Himmelwright, 551 F.2d 991, 994 (5th Cir.) cert. denied, 434 U.S. 902, 98 S.Ct. 298, 54 L.Ed.2d 189 (1977)62 (permitting strip search of border entrant based upon reasonable suspicion). Similarly, once an officer gains reasonable suspicion that a traveler is smuggling drugs in her alimentary canal, it is constitutionally reasonable for the officer to detain the traveler for a period of time necessary to either verify or dispel his suspicion. Montoya de Hernández, 473 U.S. at 544, 105 S.Ct. at 3312; Gonzalez-Rincon, 36 F.3d at 864.
Whether reasonable suspicion exists to justify more intrusive searches is a fact specific inquiry, requiring courts to take into account all of the facts known to the officer at the time of the search. United States v. Arvizu, 534 U.S. 266, 273-74, 122 S.Ct. 744, 750-51, 151 L.Ed.2d 740 (2002). Taking the totality of the circumstances into account, “officials at the border must have a particularized and objective basis for suspecting the particular person of alimentary canal smuggling.” Montoya de Hernández, 473 U.S. at 541-42, 105 S.Ct. at 3311. Reasonable suspicion requires more than mere fanciful conjecture; it must be based upon a “particularized and objective basis for suspecting the particular person ... of criminal activity.” United States v. Cortez, 449 U.S. 411, 417-18, 101 S.Ct. 690, 695, 66 L.Ed.2d 621 (1981). Although this standard imposes limits on a Customs official’s discretion after an individual has crossed the border, it relaxes the normal warrant requirement of probable cause in recognition of the “many difficulties that attend the attempts] to intercept contraband and to apprehend increasingly mobile and sophisticated smugglers.” United States v. Bilir, 592 F.2d 735, 739-40 (4th Cir.1979)
Recognizing that reasonable suspicion is a concept of a most feline character, the Supreme Court sought to provide some instruction on applying the concept in the border smuggling context in Montoya de Hernández. There, the Supreme Court found that Customs inspectors had reasonable suspicion to search and detain a woman traveling to the United States from Bogata, Colombia — a “source city” for illegal drugs according to Customs officials. Montoya de Hernández, 473 U.S. at 541, 105 S.Ct. at 3311. The woman first aroused suspicion when a Customs inspector noticed from her passport that she had made eight recent trips to either Miami or Los Angeles from Bogata. See id. at 533, 105 S.Ct. at 3306. After further questioning, the woman revealed that she did not speak English and had no family or friends in the United States. Id. She further revealed that she did not have a hotel reservation and she could not remember who purchased her airline ticket. Id. After searching her luggage, the inspector discovered the woman was carrying $5,000 *1342in cash and was only carrying “cold weather” clothes. Id. at 533-34, 105 S.Ct. at 3306. Suspecting the woman of alimentary canal smuggling, he requested a female Customs inspector take the woman to a private area and perform a patdown and strip search. Id. at 534, 105 S.Ct. at 3307. Although the female inspector failed to find any contraband, she did discover that the woman’s abdomen was firm and full and she was wearing two pairs of elastic undergarments with a paper towel lining in the crotch area. Id. Based on all the facts and circumstances, the inspectors detained the woman for sixteen hours and, despite her “heroic efforts to resist the usual calls of nature,” the inspectors discovered that the woman was carrying over eighty-eight balloons containing a total of 528 grams of cocaine in her alimentary canal. Id.
Similarly, in United States v. Gonzalez-Rincon, 36 F.3d 859 (9th Cir.1994), cert. denied, 514 U.S. 1008, 115 S.Ct. 1323, 131 L.Ed.2d 203 (1995), the Ninth Circuit found that Customs inspectors had reasonable suspicion that a traveler was an alimentary canal smuggler because she (1) was traveling from a source city (Bogata, Colombia), (2) had paid cash for her plane ticket, (3) was carrying only one piece of luggage, although she told the inspectors she was planning on staying in the United States for fifteen days, (4) gave inconsistent statements regarding the purpose of her trip, (5) her passport reflected numerous entries into the United States, and (6) she appeared nervous and perspired heavily while being interviewed. Id. at 863. These facts were sufficient to justify the Customs inspectors’ decision to strip search the woman, x-ray her abdomen, and monitor her bowel movements. Id.
In this case, when Friedland decided to accompany Denson to the restroom and perform a search, she knew that Denson (1) had arrived from Jamaica, a “source country,” (2) was a single traveler carrying no carry-on luggage, (3) displayed signs of nervousness during questioning, (4) was pregnant and, accordingly, it was impossible for medical professionals to take an x-ray of her stomach or gastrointestinal tract — making her a desirable drug “mule,” (5) provided inconsistent statements about the purpose of her trip, (6) stated she was married but could not provide her husband’s phone number, (7) had only stayed in Jamaica for one and a half days, (8) provided a dubious story about how she attained her plane ticket, (9) gave unverifiable employment information, and (10) was in possession of a handwritten “cover story” written by someone else. Based on these facts, it was eminently reasonable for Friedland, especially given her experience and training, to suspect that Denson was concealing contraband. See Gonzalez-Rincon, 36 F.3d at 863.
Denson argues, however, that even assuming that Friedland had reasonable suspicion to conduct the restroom search,63 her failure to find drugs during that search should have allayed her suspicion rather than given rise to the suspicion that she was carrying drugs internally. She insists that Friedland’s decision (which was affirmed by the Acting Port Director, Lavenka) to detain her and have her taken to a hospital — so that medical professionals and Customs officers could monitor her *1343bowel movements — was based on nothing more than a classic drug courier profile, insufficient to support reasonable suspicion.
If we were to accept Denson’s argument that the negative results of the searches should have allayed all suspicion, we would turn the reasonable suspicion standard on its head. Under Denson’s theory, whether an officer possesses reasonable suspicion is measured by the result of the search and not the facts and circumstances that led to the officer’s decision to conduct the search. Surely, Denson does not suggest that the absence of reasonable suspicion is constitutionally remedied if the officer discovers contraband during the search.
Eschewing such an ex post approach, the Supreme Court has consistently held that whether an officer has reasonable suspicion is determined by all the facts known to the officer before and during the search. See Montoya de Hernández, 473 U.S. at 541-42, 105 S.Ct. at 3311; Arvizu, 534 U.S. at 273-74, 122 S.Ct. at 750-51. The inspector’s failure to discover drugs or other facts that would indicate alimentary canal smuggling — such as the traveler carrying antidiarrheal medication, see United States v. Chukwubike, 956 F.2d 209, 210 (9th Cir.1992), or wearing multiple pairs of undergarments lined with paper towels, see Montoya de Hernández, 473 U.S. at 534, 105 S.Ct. at 3307 — does not necessarily diminish a Customs inspector’s suspicions. Indeed, an absence of proof is not proof of absence.
If, after considering all the facts and circumstances at hand, an experienced Customs inspector reasonably suspects that an individual is a drug smuggler, failing to find illicit drugs externally could raise a reasonable suspicion in the inspector’s mind that the traveler is carrying drugs internally. See United States v. Oyekan, 786 F.2d 832, 834 (8th Cir.1986) (noting that even though strip search revealed no evidence of drugs or paraphernalia associated with alimentary canal smuggling, reasonable suspicion supported detention for x-ray and monitored bowel movements of two women from a source country who carried small amount of luggage, paid cash for tickets, and told implausible stories about their purpose for traveling to the United States); Vega-Barvo, 729 F.2d at 1350 (finding that inspectors had reasonable suspicion of internal smuggling and could proceed with an x-ray following a negative strip search where suspect was traveling alone from a source country, carried a single piece of luggage, and told an implausible story regarding her employment).
Once acquiring reasonable suspicion, Friedland, with Lavenka’s approval, could legally detain Denson for “the period of time necessary to either verify or dispel the suspicion,” including transporting Den-son to the hospital for a pelvic exam and, if necessary, monitored bowel movements. See Montoya de Hernandez, 473 U.S. at 544, 105 S.Ct. at 3312, 87 L.Ed.2d 381; United States v. De Montoya, 729 F.2d 1369, 1371 (11th Cir.1984) (permitting Customs inspectors to detain suspect until he excreted his stomach’s contents where inspectors reasonably suspected narcotics trafficking); United States v. Henao-Castano, 729 F.2d 1364, 1366 (11th Cir.1984) (permitting officers to handcuff suspect to a chair because handcuffing “was a reasonable method of preventing [suspect] from attempting to dispose of the contents of his stomach before they could be searched.”); United States v. Saldarriaga-Marin, 734 F.2d 1425, 1428 (11th Cir.1984) (“Once the Customs [Officers developed reasonable suspicion that [suspect] was an internal carrier, they could permit nature to run its course or ask [him] to speed up the process by taking [a] laxative”); United States v. Himmelwright, 551 F.2d 991, 995 *1344(5th Cir.1977) (allowing strip and body cavity searches upon reasonable suspicion “that contraband exists in the particular place which the officials decide to search”); Lane v. United States, 321 F.2d 573, 576 (5th Cir.1963) (holding that “[a]dministering emetics to cause vomiting in order to recover narcotics is not an unreasonable search of the person.”).64
We further note that our decision today promotes sound social policy and provides Customs inspectors a degree of flexibility and protection as they work to secure our borders. In this case, after confronting, questioning, and searching Denson, Fried-land presented Lavenka with evidence supporting a reasonable suspicion that Denson was concealing drugs internally. At this point, the inspectors had a simple, but difficult, choice to make: subject the obviously pregnant Denson to an invasive series of searches or let her go. Denson argues that they should have opted for the latter choice irrespective of any adverse social consequences. Yet, such a rule would force Customs inspectors to capitulate to drug traffickers who decide to employ such depraved tactics, while simultaneously creating an incentive for drug traffickers to continue using pregnant females to internally smuggle drugs across our borders.65 Such collateral consequences strongly militate against giving effect to such a theory.
In sum, based on the facts and circumstances Friedland and Lavenka encountered, we conclude that they acted reasonably and thus, did not violate the Fourth Amendment.66 The judgment of the district court in Denson’s Bivens case is accordingly affirmed.
III.
Because Denson failed to prove a constitutional violation in her Bivens case, the United States had at its disposal two de*1345fenses to her state tort law claims: (1) a jurisdictional defense provided by 28 U.S.C. § 2680(a) — the discretionary function exception; and (2) an affirmative defense under the Supremacy Clause of the Constitution. Because we find that Den-son’s state tort law claims are barred by the Supremacy Clause, we need not consider the applicability of the discretionary function exception and whether jurisdiction exists to entertain them.67
As we consider whether the Supremacy Clause bars Denson’s state tort law claims, we are ever mindful that this ease involves the actions of federal officers charged with safeguarding the United States border — a locus where the federal interest rises to its zenith- — -and the extent to which those actions may be regulated by application of state law. To be sure, the U.S. Constitution strictly allocates the responsibility for policing international borders to the federal government,68 and officers of the United States are solely charged with carrying out that mandate.69 While the power to control who and what enters the country is explicitly declared within the text of the Constitution itself, this power antedates the adoption of the Constitution and “is based on [the sovereign’s] inherent authority to protect its territorial integrity.” Torres v. Puerto Rico, 442 U.S. 465, 472-73, 99 S.Ct. 2425, 2430, 61 L.Ed.2d 1 (1979); see also Ramsey, 431 U.S. at 620, 97 S.Ct. at 1980. With this in mind, we must determine whether Denson can assert her state law tort claims even though Friedland and Lavenka have otherwise complied with federal law. A thorough examination of the Supreme Court’s Supremacy Clause jurisprudence convinces us that the answer to this question is no.
It is a basic tenet of “Our Federalism”70 that where federal and state law conflict, state law must yield. This principle is captured in Article VI of the Constitution, which reads: “This Constitution, and the Laws of the United States ... shall be the supreme Law of the Land ..., any Thing in the ... Laws of any State to the Contrary notwithstanding.” U.S. Const, art VI, cl. 2. Soon after the creation of our federal system, the Supreme Court explained that the Supremacy Clause was designed to ensure that states do not “retard, impede, burden, or in any manner control” the execution of federal law. McCulloch v. Maryland, 17 U.S. (4 Wheat.) 316, 436, 4 L.Ed. 579 (1819); see also Gibbons v. Ogden, 22 U.S. (9 Wheat.) 1, 211, 6 L.Ed. 23 (1824) (Marshall, C.J.) (“[A]cts of the State Legislatures ... [that] interfere with, or are contrary to the laws of Congress [are to be invalidated because] [i]n every such case, the act of Congress ... is supreme, and the law of State, though enacted in the exercise of powers not controverted, must yield to it.”).
While the Supremacy Clause allows Congress to enact legislation free of *1346any impediment or interference by state law, see Gade v. Nat’l Solid Wastes Mgmt. Assoc., 505 U.S. 88, 108, 112 S.Ct. 2374, 2388, 120 L.Ed.2d 73 (1992), it jointly serves to prevent state law or state law officials from interfering with or otherwise impeding federal officers as they perform them lawful duties, see Tennessee v. Davis, 100 U.S. 257, 263, 25 L.Ed. 648 (1880) (“No state government can exclude [the federal government] from the exercise of any authority conferred upon it by the Constitution [or] obstruct its authorized officers against its will ----”). The Supreme Court further explicated this maxim in In re Neagle, 135 U.S. 1, 10 S.Ct. 658, 34 L.Ed. 55 (1890), where California sought to prosecute a United States deputy marshal assigned to protect Justice Stephen Field during his circuit assignment after the marshal shot and killed an angry litigant. In Neagle, the Court held that the marshal was immune from state prosecution: “[I]f the prisoner is held in the state court to answer for an act which he was authorized to do by the law of the United States, which it was his duty to do as marshal of the United States, and if, in doing that act, he did no more than what was necessary and proper for him to do, he cannot be guilty of a crime under the law of the state of California.” Id. at 75, 10 S.Ct. at 672. The Court explained that under the Constitution, the United States “may, by means of physical force, exercised through its official agents, execute ... the powers and functions that belong to it” free from the interference of state law.71 Id. at 60-61, 10 S.Ct. at 667; see Davis, 100 U.S. at 262 (1879) (noting that the government can act only through its officers and agents, who must act within the States’ territories, and allowing state law to interfere with government officers would paralyze governmental functions); Martin v. Hunter’s, 14 U.S. (1 Wheat. 363) 304, 363, 4 L.Ed. 97 (1816) (Johnson, J., concurring) (“[T]he general government must cease to exist whenever it loses the power of protecting itself in the exercise of its constitutional powers. Force, ..., or judicial process, ..., are the only means to which governments can resort in the exercise of their authority.”).
Although Neagle considered the question of whether the Supremacy Clause would countenance a state’s criminal prosecution of a federal officer performing his duties, its teaching has broader application. It not only spares federal officers from trial in a potentially hostile state *1347venue, see also Willingham v. Morgan, 395 U.S. 402, 407, 89 S.Ct. 1813, 1816, 23 L.Ed.2d 396 (1969) (noting that “federal officers, and indeed the Federal Government itself, require the protection of a federal forum”), but also imparts a framework for deciding whether the Supremacy Clause bars the application of state law to claims arising out of the conduct of federal actors. The scheme requires that courts consider whether the officer “was authorized to do [what he did] by the law of the United States,” whether “it was his duty to do [it] as [an officer] of the United States,” and whether “in doing that act he did no more than what was necessary and proper for him to do.” Neagle, 135 U.S. at 57, 10 S.Ct. at 666. If the answer to these three questions is yes, conflicting state law is ineffectual.
Although setting out three distinct questions for analysis, at bottom, Neagle stands for the proposition that an officer of the United States cannot be held in violation of state law while simultaneously executing his duties as prescribed by federal law. An act cannot simultaneously be necessary to the execution of a duty under the laws of the United States and an offense to the laws of a state. On the contrary, the obligations imposed by federal law are supreme, and where any supposed right or claim under state law would impede an officer from performing his duties, it must relent. Johnson v. Maryland, 254 U.S. 51, 56-57, 41 S.Ct. 16, 65 L.Ed. 126 (1920) (Holmes, J.) (“[E]ven the most unquestionable and most universally applicable of state laws, such as those concerning murder, will not be allowed to control the conduct of a marshal of the United States acting under and in pursuance of the laws of the United States.”); Ohio v. Thomas, 173 U.S. 276, 283, 19 S.Ct. 453, 455, 43 L.Ed. 699 (1899) (“When discharging [their] duties under [F]ederal authority pursuant to and by virtue of valid Federal laws, [Federal officers] are not subject to arrest or other liability under the laws of the State in which their duties are performed.”).
Accordingly, for purposes of the FTCA case before us, assessing whether the United States is amenable to liability under state law for the allegedly tortious conduct of Friedland and Lavenka requires reference to federal law. Conflating somewhat the elements of the Neagle test for simplicity’s sake, we look to (1) whether the officers were acting “within the outer perimeter of [their] line of duty” as defined by federal statutory and regulatory law, Barr v. Matteo, 360 U.S. 564, 575, 79 S.Ct. 1335, 3 L.Ed.2d 1434 (1959) (plurality opinion), and (2) whether “in doing [those acts, they] did no more than what was necessary and proper for [them] to do” as demarcated by the Constitution, see Neagle, 135 U.S. at 57, 10 S.Ct. at 666. As the Supreme Court explained, “a federal official may not with impunity ignore the limitations which the controlling law has placed on his powers.” Butz v. Economou, 438 U.S. 478, 489, 98 S.Ct. 2894, 2902, 57 L.Ed.2d 895 (1978). Indeed, it is a tautology that a federal officer’s actions lie outside the scope of his authority when the officer fails to comply with the affirmative requirements of federal statutory or regulatory law, see id. at 489-91, 98 S.Ct. at 2902-03; Castro v. United States, 560 F.3d 381, 390-91 (5th Cir.2009); United States Fid. &amp; Guar. Co. v. United States, 837 F.2d 116, 120 (3d Cir.1988), and his actions fail to qualify as “necessary and proper” if committed in violation of the negative injunctions of the Constitution, see Butz, 438 U.S. at 489-91, 98 S.Ct. at 2902-03; Castro, 560 F.3d at 389; Medina, 259 F.3d at 225; Red Lake Band of Chippewa Indians, 800 F.2d at 1196; see also Larson v. Domestic &amp; Foreign Commerce Corp., 337 U.S. 682, 689-90, 69 S.Ct. 1457, 1461, 93 L.Ed. 1628 (1949); Marbury v. Madison, 5 *1348U.S. (1 Cranch) 137, 170-71, 2 L.Ed. 60 (1803).
To be clear, this analysis examines whether the officer’s acts have some nexus with furthering federal policy and can reasonably be characterized as complying with the full range of federal law. See Johnson, 254 U.S. at 56-57, 41 S.Ct. at 16-17; Scherer v. Brennan, 379 F.2d 609, 611 (7th Cir.1967) (citing Norton v. McShane, 332 F.2d 855, 858-59 (5th Cir.), cert. denied, 380 U.S. 981, 85 S.Ct. 1345, 14 L.Ed.2d 274 (1965)). If the answer to these questions is yes, application of state law, to the extent it unavoidably conflicts with federal law, has no effect, as it would frustrate and impede the compelling federal interest of allowing federal officers to effectively discharge their duties. See Barr, 360 U.S. at 571, 79 S.Ct. at 1339 (“[0]ffieials of government should be free to exercise their duties unembarrassed by the fear of damage suits in respect of acts done in the course of those duties — suits which would consume time and energies which would otherwise be devoted to governmental service and the threat of which might appreciably inhibit the fearless, vigorous, and effective administration of policies of government.”); Free v. Bland, 369 U.S. 663, 666, 82 S.Ct. 1089, 1092, 8 L.Ed.2d 180 (1962) (“The relative importance to the State of its own law is not material when there is a conflict with a valid federal law, for the Framers of our Constitution provided that the federal law must prevail.”); see also Osborn v. Bank of United States, 22 U.S. (9 Wheat. 738) 865-66, 6 L.Ed. 204 (1824).72 If the answer is no, state law may apply with full force, as no valid federal interest arises in protecting the ultra vires actions of a federal officer from liability.73
In this particular case, the United States may not be held liable under state tort law. Friedland and Lavenka’s actions bear a substantial relation to the valid and preeminent federal interests of protecting our international borders, and, while carrying out their lawfully defined duties, they complied with the full spectrum of federal statutory, regulatory, and constitutional law and did no more than was essential to carrying out their duties.
It is also of great importance to note that there exists a direct conflict between state and federal law in this case. Initially, we note that relative to the federal government the several states have a nom*1349inal, if not de minimis, interest in protecting the international borders of the United States, see e.g., State v. Coburn, 165 Vt. 318, 683 A.2d 1343, 1347 (1996) (implying that Vermont has little interest in having its law apply to an illegal border search claim in light of the exclusive federal interest in safeguarding the international border), and, moreover, application of state tort law to the facts of this case would impede an essential federal function by subjecting the United States to suit and possible liability even though its officers did only what was necessary and proper, as defined by federal law, while effectuating federal policy. Clearly, Customs officials would be deterred from acting as is practically and unavoidably required when encountering suspected narcotics couriers if they knew that by searching and temporarily confining a suspected drug courier they would expose their employer (the United States) to a tort action for assault, battery, and false imprisonment. Such a result would have profound negative consequences, as it would frustrate the compelling federal interests identified with effective border security by discouraging bold, vigorous, and necessary action. See Almeidar-Sanchez, 413 U.S. at 272-73, 93 S.Ct. at 2539; Gibbons, 22 U.S. (9 Wheat.) at 211.
As Neagle and its progeny teach, state law liability simply cannot attach to the acts taken by federal officers in the course of their duties and committed in compliance with federal law, where such action was “no more than what was necessary and proper for [the officer] to do” under the circumstances, if application of state law would impede an essential federal function. Neagle, 135 U.S. at 57, 10 S.Ct. at 666. The Supremacy Clause will simply not countenance such a result. See McCulloch, 17 U.S. (4 Wheat.) at 316 (explaining that state law cannot “retard, impede, burden, or in any manner control” the necessary execution of federal law).
In sum, since Friedland and Lavenka’s conduct comported with federal law, Den-son’s state law tort claims of assault, battery, and false imprisonment, which are in direct conflict with the federal objectives we have identified in this FTCA case, are barred. The judgment the district court entered in favor of the United States is, therefore, affirmed.
IV.
For the foregoing reasons, the judgment of the district court is
AFFIRMED.

. See Federal Tort Claims Act (FTCA), Pub.L. No. 79-601, §§ 401-424, 60 Stat. 812, 842 (1946) (codified as amended in scattered sections of 28 U.S.C.). Bivens and FTCA claims are brought against separate defendants. Bivens claims are brought against federal employees in their individual capacities; FTCA claims are brought against the United States. In this matter, the plaintiffs combined the claims in a single complaint. For ease of discussion, we refer to the Bivens and FTCA claims as separate cases.


. The alimentary canal is also known as the gastrointestinal tract or the digestive tract. After an external examination of Denson's body failed to reveal any contraband, the hospital staff gave Denson a laxative to discover whether she was carrying drugs internally. They discovered that she was not.


. The secondary station area consisted of a computer terminal and an x-ray machine for examining luggage and other items.


. Denson was holding onto the belt that fed items into the machine.


. Customs inspectors know that drug smugglers often travel with one-hundred dollar bills.


. At this time, United States citizens were permitted to travel to Jamaica with an affidavit of citizenship. Denson obtained her affidavit from a notary employed by Skycaps International at the Miami International Airport. Friedland had not previously encountered this type of travel document.


. Denson testified at trial that she was also carrying immigration application documents for Scott and pictures of her wedding and that she informed Friedland that the purpose of her visit was to meet with Jamaican immigration officials. Friedland disputed these assertions. We additionally note that the immigration documents plaintiff introduced at trial were issued by the United States government and were to be filed with the U.S. Immigration and Naturalization Service, not Jamaican authorities.


. Friedland immediately asked Denson to write down the answers to her questions on her tablet of paper so that Friedland could compare the handwritings. The handwriting samples did not match. At the hospital the next evening, Denson informed Friedland that she had in fact written the document and that it appeared to be written by someone else because she had seven different handwritings. At trial, Denson said that she did not write the script but that Osmond wrote it for her.


. TECS is a computerized system that displays if a person entering the United States is on terrorist alert, suspected of narcotics trafficking or money laundering, a probation violator, has any outstanding warrants, or is in violation of other laws.


. See Terry v. Ohio, 392 U.S. 1, 30-31, 88 S.Ct. 1868, 1880-84, 20 L.Ed.2d 889 (1968) (holding that an officer may stop an individual and conduct a limited search if the officer forms a reasonable suspicion that the individual is engaging in, has engaged in, or is about to engage in illegal activity). Friedland conducted the pat down in the Customs secondary station search room in the presence of Customs Inspector Linda Banks.


. See Miranda v. Arizona, 384 U.S. 436, 478-79, 86 S.Ct. 1602, 1630, 16 L.Ed.2d 694 (1966) (holding that statements made by a suspect in police custody are admissible at trial only if an officer has informed the suspect of his right to counsel and his right against self-incrimination and the suspect knowingly waived those rights).


. Levenka was a Supervisory Customs Inspector acting as Port Director in the Director's temporary absence.


. The U.S. Customs Service and Jackson Memorial Hospital had a standing arrangement whereby the hospital provided medical services to patients whom Customs suspected of smuggling contraband internally. Several inspectors also staffed an office Customs maintained at the hospital.


. Friedland informed Lavenka of the negative pelvic exam and Lavenka authorized Den-son's continued detention for monitored bowel movements.


. Arriving at Ward D, Friedland again handcuffed Denson to the bedrail in her room.


. Denson testified at trial that Friedland told her that she had to drink the laxative and pass three clear stools or she was not going to be able to leave. When Denson expressed concern about taking the laxative, Friedland responded that the doctors would not have prescribed her medication that they did not think she could have. Friedland denied making these statements.


. Inspector Smith’s shift ended shortly before midnight on February 14; he did not have further contact with Denson. While it is unclear from the record when Friedland left the hospital on the night of the 14th, she returned the next afternoon and supervised Denson’s second bowel movement at 4 p.m. Friedland's shift ended later that evening; she returned the next morning, February 16, to transport Denson back to the airport following her release.


. Denson brought the suit individually and as guardian of Jordan L. Taylor. Under Florida law, a child who suffers prenatal injuries and is born alive has an independent cause of action against the alleged tortfeasor. Day v. Nationwide Mut. Ins. Co., 328 So.2d 560, 562 (Fla. 2d DCA 1976). Nevertheless, since Jordan Taylor’s tort claims are derivative of his mother's claims, we will focus on the allegedly tortious treatment of Denson.


. We refer to Denson's Second Amended Complaint as the complaint. It was filed after a panel of this court reversed the district court's dismissal of the Hospital and the Hospital Defendants from the case and directed the district court to grant Denson leave to amend her complaint. Denson v. United States, 209 F.3d 724 (11th Cir.2000) (unpublished table decision).


. The complaint sought damages against the Federal Defendants in both their individual and official capacities. The district court, in its orders finally disposing of the claims in this case, made no mention of the claims against the Federal Defendants in their official capacities. We thus assume that the court denied those claims sub silentio. In their briefs on appeal, the parties do not mention them.


. Although the complaint named Jackson Memorial Hospital as a defendant, the complaint was served appropriately on Public Health Trust of Dade County, d/b/a Jackson Memorial Hospital.


. The physicians were Drs. John Bennett, Alexander Amadio, Ricardo Presas, Maurizio Sepe, Jose Hernanedez, Gerald Kratz, and Lynn P. Carmichael.


. The nurses were Illeana Hollant, Marie Prospere, Kenneth Reynauld, Gary Thompson, Doreen Simmons, and Gretchen Betlem.


. Denson brought the claims against the Federal Defendants under 28 U.S.C. § 1331, the claims against the United States under 28 U.S.C. §§ 1331 and 1346(b)(1), the federal law claims against the Hospital Defendants and the Hospital under 28 U.S.C. §§ 1331 and 1343, and the state law claims against the Hospital and Hospital Defendants under 28 U.S.C. § 1367.


. As indicated in the text following this footnote, the first 82 paragraphs of the complaint charge all of the defendants with every violation of the U.S. Constitution and Florida tort law that Denson allegedly suffered. Each numbered count, by incorporating those 82 paragraphs by reference, therefore asserts all of these violations. In an effort to eliminate the intractable problem of isolating Denson’s claims and reducing them to their bare essentials, we have limited the claims presented in the several counts by using the counts' headings, e.g., Count I, “Assault and Battery.”


. See supra note 1.


. See supra note 1 and accompanying text.


. Count XI's assertions that the Federal Defendants infringed Denson’s rights under these constitutional amendments duplicated Count IX’s Bivens claims. And, moreover, it was inappropriate to place these constitutional allegations in Count XI because the FTCA does not provide jurisdiction for redress of constitutional torts.


. The U.S. Attorney’s Office for the Southern District of Florida represented both the United States on Count XI, and the Federal Defendants on Counts IX and X, respectively.


. Given the manner in which Denson pled her complaint, the U.S. Attorney and the district court understandably had difficulty discerning which claims of which counts fell within the ambit of the FTCA, which claims were based on violations of Florida tort law, and which were based on violations of the U.S. Constitution. As a result, the U.S. Attorney had the United States substituted under the FTCA with respect to claims not covered by the FTCA, i.e., constitutional claims against the Federal Defendants. For example, the district court at some point during the litigation incorrectly combined Count IX, based on the U.S. Constitution, with Count XI, based on Florida tort law and the U.S. Constitution, and substituted the United States as the defendant. The court treated Count X, a negligence claim against Priore, as a constitutional claim, and therefore did not substitute the United States for Priore as the defendant in that count. In this opinion, we have treated as claims against the United States only those asserting liability under Florida tort law.


. These defendants also moved the district court to dismiss Denson’s claims under Fed. R.Civ.P. 12(b)(6). We are unable to determine from the record whether the court ever ruled on the motion.


. In addition to disposing of the defendants' motions for summary judgment, the court struck the complaint’s references to 42 U.S.C. *1331§ 1985 because none of the complaint's allegations supported a claim under § 1985.


. The court granted summary judgment in favor of the Hospital Defendants on the ground that Fla. Stat. § 768.28 granted them immunity. See Jaar v. Univ. of Miami, 474 So.2d 239, 245 (Fla. 3d DCA 1985) (applying § 768.28 immunity to doctors employed by the Public Health Trust of Miami Dade County d/b/a Jackson Memorial Hospital).


. The district court disposed of the Count VI claims as follows: it dismissed (1) the claims Denson brought as guardian of Jordan L. Taylor; (2) the claims brought under 42 U.S.C. § 1985 against the Hospital and Hospital Defendants (for failure to prove a conspiracy among any of them); (3) the claims brought under 42 U.S.C. § 1983 against the Hospital and Hospital Defendants for non-consensual medical treatment; and (4) the claims brought under § 1983 against Drs. Amadio, Presas, Sepe, Hernandez, and Kratz and nurse Betlem for deliberate indifference to Denson's serious medical needs. The court granted in part and denied in part nurse Simmons's motion for summary judgment, dispositions we treat together as the denial of summary judgment. The court denied Dr. Bennett and nurses Hollant and Prospere summary judgment, and for, reasons not apparent in the January 29 order, did not rule on whether Dr. Carmichael or nurses Reynauld and Thompson were entitled to summary judgment.


. The court granted summary judgment on Count VIII, the assault and battery claims against the Federal Defendants, on the ground that, at the time of the alleged assault and battery, the Federal Defendants were acting within the scope of their authority; therefore, the United States should be substituted as the defendant in lieu of the Federal Defendants. Because the Count XI claim against the United States was based in part on Count VIII's assault and battery allegations, the court found no need for Count VIII. Rather than dismissing Count VIII as duplicative of Count XI, however, the court granted the Federal Defendants summary judgment on Count VIII. The court apparently overlooked the fact that Count XI not only alleged assault and battery claims against the Federal Defendants, which were covered by the FTCA, but Fourth, Fifth, Eighth, and Fourteenth Amendment claims against them as well, which were not covered by the FTCA (because they were not based on Florida tort law) and which the United States therefore had no obligation to defend. Nonetheless, the U.S. Attorney assumed, albeit erroneously, that the United States could be held liable on those constitutional claims under the FTCA and, therefore, undertook to defend them on behalf of the United States.


. The court granted the Federal Defendants summary judgment on Denson's claim as guardian of Jordan L. Taylor and on Denson's claim that the luggage search and pat down at the second Customs checkpoint infringed Denson's constitutional rights.


. The Hospital Defendants argued that the district court lacked subject matter jurisdiction to entertain these claims. The district court disagreed, concluding that it had supplemental jurisdiction under 28 U.S.C. § 1367 to litigate the claims; it therefore denied the Hospital Defendants’ motion for summary judgment.


. The court denied summary judgment on the claim that Federal Defendants Friedland, Lavenka, and Flynn infringed Densons’ constitutional rights in conducting the bathroom search at the airport and the pelvic examination at Jackson Memorial Hospital and in detaining Denson at the hospital for 24 hours. The court did not pass on the question of whether these three defendants were entitled to qualified immunity.


. The Federal Defendants filed their notice of appeal on March 28, 2002. Because the United States is a party in the case, their appeal had to be filed within 60 days of the entry of the January 29 order. See Fed. R.App. P. 4(a)(1)(B).


. In its January 29, 2002 order, the district court granted the Hospital summary judgment on Count VII, over which it had jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. Sections 1331 and 1343 also provided the court with jurisdiction to entertain Count VI.


. The November 5 order did not state that the dismissals were without prejudice. We assume that the dismissals were without prejudice because the order noted that Denson could continue pursuing her state law claims against the Hospital and Hospital Defendants in the Circuit Court of Dade County, Florida. See Denson v. Public Health Trust of Dade County, Case No. 99-3722.


. Denson moved the district court for the entry of a partial final judgment under Fed. R.Civ.P. 54(b) because this court had questioned the parties as to whether this court had jurisdiction to entertain the interlocutory appeal Denson had taken on December 2, 2004. On March 17, 2005, we dismissed Denson's interlocutory appeal for lack of an appealable order. The order of dismissal stated: "The district court’s November 5, 2004 order is not final and appealable as it does not resolve all claims of all parties, and was not certified for an immediate appeal pursuant to Fed.R.Civ.P. 54(b).” Denson v. United States, No. 04-16392 (11th Cir. Mar. 17, 2005).


. A partial final judgment would also allow appellate review of the part of the November 5 order dismissing Counts II through V.


. By agreement, the parties, with the court's consent, bifurcated Denson's claims and limited the trial to the issues of liability.


. Denson had made a timely demand that her Bivens claims be tried to a jury. By statute, FTCA claims are tried to the bench. See 28 U.S.C. § 2402.


. Nothing in the pretrial or trial records indicates that Flynn played a role in any way, directly or indirectly, in any of the events on which Denson based her claims against any of the defendants named in her complaint.


. Denson rested her case on Count XI subject to the court's reception of some documentary evidence, which she promptly introduced. Such evidence is not material to the disposition of her appeal of the judgment on Count XI.


. The U.S. Attorney framed his motions for judgment as a matter of law as motions for “directed verdicts.” We treat the motions as a Fed.R.Civ.P. 50(a) motion for judgment as a matter of law on Count IX and as a Fed. R.Civ.P. 52(c) motion for judgment on Count XI. The motions differ in this respect. A Rule 50(a) motion may be granted in the context here if the court, taking the evidence in the light most favorable to the plaintiff, concludes that a reasonable jury could not find for the plaintiff. Rossbach v. City of Miami, 371 F.3d 1354, 1356 (11th Cir.2004) (per curiam). A Rule 52(c) motion may be granted if, in the context here and based on the evidence before it, the court finds, after resolving the credibility issues and weighing the evidence, for the defendant. As it turned out, the court did not rule on the Rule 52(c) motion; instead, after both parties rested, it considered the evidence and made findings of fact and conclusions of law pursuant to Fed. R.Civ.P. 52(a).


. Neither the parties nor the district court acknowledged the fact that Count XI included federal constitutional claims in addition to the Florida law tort claims. Rather, they limited, albeit tacitly, the constitutional claims to those asserted in Count IX.


. 28 U.S.C. § 2676 provides:
The judgment in an action under [the FTCA] shall constitute a complete bar to any action by the claimant, by reason of the same subject matter, against the employee of the government whose act or omission gave rise to the claim.
A majority of courts have construed § 2676 as barring a plaintiff's Bivens claims, irrespective of whether the Bivens and FTCA claims were brought in the same lawsuit. Harris v. United States, 422 F.3d 322, 334 (6th Cir.2005) ("[W]e have held that [§ 2676] applies even when the claims were tried together in the same suit and the judgments were entered simultaneously.”) (alteration omitted); Estate of Trentadue ex rel. Aguilar v. United States, 397 F.3d 840, 858 (10th Cir.2005) (finding that entering judgment on Bivens claim before rendering judgment on FTCA tort claim is "inconsequential” to the application of § 2676); Farmer v. Perrill, 275 F.3d 958, 962 (10th Cir.2001) (holding that § 2676 barred Bivens claim because an FTCA claim based on same subject matter was adjudicated in an earlier proceeding); Rodriguez v. Handy, 873 F.2d 814, 816 (5th Cir.1989) (‘"The moment judgment was entered against the government, then by virtue of § 2676, [defendant] was no longer answerable to [claimant] for damages.’”) (quoting Arevalo v. Woods, 811 F.2d 487, 490 (9th Cir.1987)); Aetna Cas. &amp; Sur. Co. v. United Stales, 570 F.2d 1197, 1201 (4th Cir. 1978) ("[A] judgment against the United States would automatically bar the entry of any contemporaneous or subsequent judgment against [government officials].”).
Most courts have also found that § 2676 does not distinguish between judgments entered for or against the United States. Trentadue, 397 F.3d at 858 ("[T]he judgment bar in § 2676 precludes plaintiffs from bringing a Bivens claim regarding the same subject matter regardless of whether the final FTCA judgment is rendered in favor of a plaintiff or the government.”); Farmer, 275 F.3d at 963 ("Section 2676 makes no distinction between favorable and unfavorable judgments — it simply refers to 'the judgment in an action under section 1346(b).'”); Hoosier Bancorp of Ind., Inc. v. Rasmussen, 90 F.3d 180, 185 (7th Cir.996) (“There is no indication that Congress intended [s]ection 2676 to apply only to favorable FTCA judgments.”). But see Kreines v. United States, 959 F.2d 834, 838 (9th Cir. 1992) (holding that § 2676 does not bar a Bivens claim where the court enters judgment in favor of the United States under the FTCA and the Bivens claim and FTCA claim are filed "contemporaneously”).


. Denson did not object to the bar on the ground that it deprived her of her Seventh Amendment right to a jury trial on her Bivem claims.


. Fed.R.Civ.P. 60(b) authorizes a district court to relieve a party from a "final judgment, order, or proceeding.” As we stated in our March 17, 2005 order dismissing Den-son's appeal of the November 5 order, the November 5 order was not "final,” and therefore not appealable, because the order had not resolved "all claims of all parties.” Denson v. United States, No. 04-16392 (11th Cir. March 17, 2005). The November 5 order was merely tentative. The district court should have denied Denson's Rule 60(b) motion for the obvious reason that the November 5 order was not final. The November 5 order was superceded and therefore, made final by the Rule 54(b) judgment entered on February 16, 2005. Denson did not appeal that judgment. True, she moved the court on June 30, 2005, to set it aside because the order did not recite the statutory language that there was "no just reason for delay” for granting the motion, but the court denied the motion. She apparently overlooked the fact that her motion represented to the district court that there was "no just cause for delay,” and that the court accepted her representation in granting the motion as framed. Under the circumstances, the fact that the court’s order granting the Rule 54(b) judgment failed to contain the magic words, “no just reason for delay,” did not render the judgment invalid. Crowley Mar. Corp. v. Panama Canal Comm., 849 F.2d 951, 953 (5th Cir.1988) (holding that district court was not required to recite the language "no just reason for delay,” because party’s motion contained such language; thus, district court's intent in issuing partial final judgment was readily apparent); St. Paul Fire and Marine Ins. Co. v. PepsiCo, Inc., 884 F.2d 688 (2d Cir.1989) (finding that court could exercise appellate jurisdiction in spite of the district court’s failure to recite the statutory language if the record demonstrates that the district court could easily have provided acceptable reasons for granting the motion).


. Denson also claimed that the Federal Defendants infringed her rights under the Fifth and Eight Amendments to the Constitution. In her brief, she does not mention those amendments; thus, we treat her Fifth and Eight Amendment claims as abandoned.


. 28 U.S.C. § 2680(a) provides an exception from the government's waiver of sovereign immunity for,
Any claim based upon an act or omission of an employee of the Government, exercising due care, in the execution of a statute or regulation, whether or not such statute or regulation be valid, or based upon the exercise or performance or the failure to exercise or perform a discretionary function or duty on the part of a federal agency or an employee of the Government, whether or not the discretion involved be abused.


. That the discretionary function exception of § 2680(a) would not be available to the United States when it is sued under the FTCA is implicit in the Supreme Court's holding in Carlson v. Green. By holding that the victim of a constitutional tort committed by a government official has "parallel, complementary causes of action” under Bivens and § 2680(h) of the FTCA, the Court necessarily implied that the discretionary function exception of § 2680(a) does not apply to bar the district court from adjudicating the FTCA cause of action. See Carlson, 446 U.S. at 20, 100 S.Ct. at 1472. In other words, in committing a constitutional tort, a government official is not, "exercising] or performing], or ... failing] to exercise or perform a discretionary function or duty.” See § 2680(a). Conversely, if the government official’s conduct does not violate the Constitution (or a federal statute or regulation), the discretionary function exception may apply and preclude the district court from adjudicating whether the same evidence that failed to establish that the official violated the Constitution (or a federal statute or regulation) nonetheless established a tort under state law, e.g., false arrest or false imprisonment.
In Nguyen v. United States, 556 F.3d 1244 (11th Cir.2009), a case where DEA agents infringed the plaintiff's Fourth and Fifth Amendment rights by subjecting the plaintiff to false arrest and malicious prosecution, a panel of this court suggested that the discretionary function exception would not apply even had the agents not violated the plaintiff’s constitutional rights. The plaintiff in Nguyen did not sue the federal agents under Bivens; instead, he sued the United States under § 2680(h) for false arrest and false imprisonment. Although the facts of the case demonstrated a clear constitutional violation, the district court dismissed the case under § 2680(a)’s discretionary function exception. This court reversed. Implementing a purposive approach to statutory construction, see H. Hart &amp; A. Sacks, The Legal Process: Basic Problems in the Making and Application of Law 1411 (tent. ed. 1958) (William N. Eskridge, Jr. &amp; Phillip P. Frickey eds., 1994) (arguing that primary concern in statutory construction is to give effect to the purpose of the statute; not the plain text), this court found that the exception did not apply, see Nguyen, 556 F.3d at 1256 ("To hold in this case that the discretionary function exception in subsection (a) trumps the specific proviso in subsection (h) would defeat what we know to be the clear purpose of the 1974 amendment.”), implicitly indicating that the exception would not have applied even had the agents not violated the Constitution.
As indicated in part III, infra, we conclude that the Supremacy ■ Clause bars Denson's FTCA tort claims. Consequently, we need not consider whether § 2680(a) is implicated where, as here, the government officials properly discharged their statutory and regulatory duties within the bounds fixed by the Constitution.


. The complete text of Rule 50(a) is as follows:
(a) Judgment as a Matter of Law.
(1) In General. If a party has been fully heard on an issue during a juiy trial and the court finds that a reasonable jury would not have a legally sufficient evidentiary basis to find for the party on that issue, the court may:
(A) resolve the issue against the party; and
(B) grant a motion for judgment as a matter of law against the party on a claim or defense that, under the controlling law, can be maintained or defeated only with a favorable finding on that issue.
(2) Motion. A motion for judgment as a matter of law may be made at any time before the case is submitted to the jury. The motion must specify the judgment sought and the law and facts that entitle the movant to the judgment.


. The district court alternatively ruled that 28 U.S.C. § 2676 barred Denson's Bivens claims. Because, as indicated infra, we conclude that Denson failed as a matter of law to establish that the defendants infringed her constitutional rights and that her Bivens claims should have been dismissed under Rule 50(a) for that reason, we need not address the § 2676 issue. See Koziara v. City of Casselberry, 392 F.3d 1302, 1306 n. 2 (11th Cir.2004) ("[W]e may affirm the district court’s judgment on any grounds supported in the record.”).
We come to the decision that Denson failed to establish her Bivens claims by "applying the same standard as the district court.” Cleveland v. Home Shopping Network, Inc., 369 F.3d 1189, 1192 (11th Cir.2004). In doing so, we view the evidence in the light most favorable to Denson, the nonmovant. Thosteson v. United States, 331 F.3d 1294, 1298 (11th Cir.2003).


. See Almeida-Sanchez v. United States, 413 U.S. 266, 272-73, 93 S.Ct. 2535, 2539, 37 L.Ed.2d 596 (1973); United States, v. Hill, 939 F.2d 934 (11th Cir.1991) (holding that "[b]ecause people can enter the country at points other than along the actual border, courts look to whether the point of entry is the functional equivalent of the border.”).


. See supra note 2.


. 19 U.S.C. § 1582 provides:
*1340The Secretary of the Treasury may prescribe regulations for the search of persons and baggage and he is authorized to employ female inspectors for the examination and search of persons of their own sex; and all persons coming into the United States from foreign countries shall be liable to detention and search by authorized officers or agents of the Government under such regulations.


. Courts have explicitly deemed § 1582 and its implementing regulations constitutional. United States v. Scheer, 600 F.2d 5, 7 (3d Cir.1979); United States v. Pringle, 576 F.2d 1114, 1117 (5th Cir.1978); United States v. Odland, 502 F.2d 148, 151 (7th Cir.), cert. denied, 419 U.S. 1088, 95 S.Ct 679, 42 L.Ed.2d 680 (1974).


. In Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th Cir.1981) (en banc), this court adopted as binding precedent the decisions of the former Fifth Circuit handed down prior to October 1, 1981.


. Because we find that the Customs inspectors had a reasonable suspicion prior to the restroom search that Denson was an internal narcotics courier, we need not decide whether the particular search rose to the level of a "strip search.” See Vega-Barvo, 729 F.2d at 1345 (asserting that a Customs officer must have a reasonable suspicion before conducting a strip search).


. As both Friedland and Lavenka acknowledged, as a pregnant, black female traveling alone from a brief stay in Jamaica, Denson fit a stereotypical profile. And if Friedland and Lavenka based their decision to search and have Denson detained to monitor her bowel movements solely on those facts, this would be a different case. See Brent v. Odesta, 247 F.3d 1294, 1302 (11th Cir.2001) (finding officers lacked reasonable suspicion to conduct a strip search and an x-ray examination based on the traveler having arrived from a source country and shaking her head at inspectors who had detained another passenger); United States v. Vega-Barvo, 729 F.2d 1341, 1349 (11th Cir.1984) ("It is not the profile, however, but the factors which make up the profile which are crucial to whether or not there is a reasonable suspicion.”) However, Friedland and Lavenka’s decisions were based not only on a basic profile, but also on Denson's nervous behavior, the dubious nature of Denson’s answers to basic questions, and other factors — most notably, the third-party authored cover story.


. By creating such incentives, drug traffickers will lure more pregnant women into packing their bodies with dangerous drugs. This technique is quite dangerous because the balloons or condoms, which are used as packages for the drugs, can burst or leak, causing potentially fatal drug intoxication. See United States v. Ibekwe, 760 F.Supp. 1546, 1558 (M.D.Fla.1991); Stephen J. Traub, Body Packing — The Internal Concealment of Illicit Drugs, 349 New Eng. J. Med. 2519 (2003).


. In granting their motion for judgment as a matter of law on the ground that they were entitled to qualified immunity, the district court did not indicate whether Friedland and Lavenka were entitled to qualified immunity because Denson failed to prove that their conduct violated the Fourth Amendment or that their conduct, though challengeable, did not violate “clearly established” Fourth Amendment "rights of which a reasonable [Customs officer] would have known.” See Harlow v. Fitzgerald, 457 U.S. 800, 818, 102 S.Ct. 2727, 2738, 73 L.Ed.2d 396 (1982). We conclude that they are entitled to qualified immunity because Denson failed to prove a Fourth Amendment violation.


. In her complaint in the FTCA case, Denson asserted a claim for intentional infliction of emotional distress.- We summarily dismiss this claim as it is not one of the torts enumerated within § 2680(h). See 28 U.S.C. § 2680(h) (listing the torts of assault, battery, false imprisonment, false arrest, abuse of process, and malicious prosecution).


. The U.S. Constitution provides that Congress shall have the power "[t]o regulate commerce with foreign nations, and among the several states, and with the Indian tribes.” U.S. Const, art. I, § 8, cl. 3.


. See, e.g., 8 U.S.C. § 1103 (charging the Secretary of Homeland Security, the Attorney General, and the Under Secretary of Homeland Security with certain responsibilities relating to border security).


. See Younger v. Harris, 401 U.S. 37, 44-45, 91 S.Ct. 746, 750-51, 27 L.Ed.2d 669 (1971).


. The Supremacy Clause has also been invoked in cases where a state criminal defendant argues that he should have been allowed to suppress evidence obtained by a federal border agent under the applicable state constitution. For example, in State v. Coburn, 165 Vt. 318, 683 A.2d 1343 (1996), a man convicted of drug possession in state court argued that his motion to suppress evidence obtained by U.S. Customs agents should have been granted because their search and seizure violated the Vermont Constitution. Citing the Supremacy Clause and Art I., § 8, cl. 3 (regulation of commerce with foreign nations), the Vermont Supreme Court held that "the Vermont Constitution does not apply to the conduct of federal government officials acting under the exclusive federal authority to safeguard the borders of the United States.” Id. at 1347. In reaching its decision, Cobum cited cases from several other states that had held similarly. See e.g., People v. Mitchell, 275 Cal.App.2d 351, 79 Cal.Rptr. 764, 767 (1969) ("A border search by a United States Customs Officer is lawful; does not depend upon probable cause; and is not governed by state laws.”); Morales v. State, 407 So.2d 321, 329 (3d Fla. DCA 1981) (holding that evidence seized by U.S. Customs officers pursuant to reasonable border search is permissible under Florida constitution); State v. Allard, 313 A.2d 439, 451 (Me.1973) (finding no state constitutional violation where U.S. Customs officer turned over evidence to state police); State v. Bradley, 105 Wash.2d 898, 719 P.2d 546, 549 (1986) (“Neither state law nor the state constitution can control federal officers’ conduct [during a border search].”).


. In Osbom, Chief Justice Marshall explained:
"An officer, for example, is ordered to arrest an individual. It is not necessary, nor is it usual, to say that he shall not be punished for obeying this order. His security is implied in the order itself. It is no unusual thing for an act of congress to imply, without expressing, this very exemption from State control .... The collectors of the revenue, the carriers of the mail, the mint establishment, and all those institutions which are public in their nature, are examples in point. It has never been doubted, that all who are employed in them, are protected, while in the line of duty; and yet this protection is not expressed in any act of Congress. It is incidental to, and is implied in, the several acts by which these institutions are created, and is secured to the individuals employed in them by the judicial power alone ....”
22 U.S. (9 Wheat. 738) at 865-66.


. In Mesa v. California, the Supreme Court denied removal under the federal officer removal statute to two postal employees, 28 U.S.C. § 1442(a)(1), because they failed to establish that they were acting within the scope of their official duties and, therefore, had no colorable federal defense to the state law charges of reckless driving and related offenses. 489 U.S. 121, 127-28, 109 S.Ct. 959, 963-64, 103 L.Ed.2d 99 (1989). Because the federal employees' actions fell outside the scope of their federal duties, California’s interest in vindicating the rights of its citizens did not frustrate any valid federal interest.

